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                           UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                          :      Chapter 13

Danette Moody
      (DEBTOR)                                  :      Bankruptcy No. 18-10712AMC

                        MOTION FOR CONTINUANCE OF THE STAY
                      BEYOND 30 DAY PERIOD UNDER 11 U.S.C. §362

   1.    Debtor has had the following prior cases;
                           Ch 13 11-15774BIF
                           Filed 7-22-11
                           Confirmed 4-10-12
                           Dismissed 10-29-13
                           Attorney Cibik & Cataldo, PC

                            Ch 13 13-19485AMC
                            Filed 10-31-13
                            Confirmed 7-15-14
                            Dismissed 8-23-16
                            Attorney Cibik & Cataldo, PC

                            Ch 13 16-16189AMC
                            Filed 9-2-16
                            Confirmed 6-27-17
                            Dismissed 12-19-17
                            Attorney Cibik & Cataldo, PC

   2.    Only the most recent case was dismissed within the prior 12 months.

   3. There are no bar orders or consent order governing refiling.

   4. Debtor’s issues are health related. She had a heart condition which culminated
      in heart surgery which kept her out of work from October 2017 through dismissal
      of her last case.

   5. Dismissal was caused by trustee arrears caused by her health issues and missed
      work.

   6. Debtor has completed her rehabilitation allowing her to return to work and able
      to work more hours than previously allowed by her health.

   7. With her return to work, Debtor is applying for a wage order.

   8. Debtor is agreeable to an order requiring leave of court for any refiling.

   9. Debtor resides in the collateral real estate and desires to keep her home.

   10. Debtor’s plan of $800 per month for 60 months is feasible.
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   11. Debtor has equity in her residence

   12. Debtor has a personal injury claim with now exempt proceeds to be paid d for
       the benefit of general unsecured creditors.

   13. Debtor is paying City of Philadelphia obligations and a car through the plan with
       direct pay to the SBA with pro rata distribution to general unsecured.

       WHEREFORE, Debtor prays that this Honorable Court enter an order extending
the 30-day automatic stay.

                                       Respectfully submitted,


Date:   February 2, 2018                BY: /s/ Michael A. Cataldo
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